          Case 1:19-cv-05244-AKH Document 7-1 Filed 06/12/19 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


 U.S. SECURITIES AND EXCHANGE
 COMMISSION,

                                           Plaintiff,             Case No.1:19-cv-05244

 v.

 KIK INTERACTIVE INC.,

                                           Defendant.


                    DECLARATION OF STEPHAN j. SCHLEGELMILCH

         I, Stephan J. Schlegelinilch, declare as follows:

         1.      I am an attorney and Supervisory Trial CoLmsel in the Division of Enforcement of

the L`nited States Securities and Exchange Commission (the "SI_ C"). I am based in die SLC's home

office located at 100 F Street, N.F, Washington, D.C, 20549. I make this declaration in support of

mfr Mc>ric~n for admission Pro Hac Vise ir1 d7e above-captioned matter.

         2.      I am a member in good standing of the bars of the State of Ohio and Washington,

DC. Attached as exhibits to this declaration ire certificates of good standing for these jurisdictions.

         3.      There are nn pending disciplinai-~~ proceedings against me in any state or federal

court.

         4.      I have nearer been con~rictecl of a felony.

         5.      I have nEv~i been censured, suspended, disbarred, or denied admission car

icadmission b~~ an~~ court.

         Pursuant to 28 U.S.C. ~ 174C, I declaie ur '            `~   ~            '~

and correct.

Fxecutecl <m June "12, 2019,in
Waslvngton, D.C.
  Case 1:19-cv-05244-AKH Document 7-1 Filed 06/12/19 Page 2 of 3




               ~IC~je ~u~ren~e Court of ~~jto
                      CERTIFICATE OF GOOD STANDING




I, GINA WHITE PALMER, Director of the Attorney Services Division of the Supreme
Court of Ohio, do hereby certify that I am the custodian of the records of the Office of
Attorney Services of the Supreme Court and that the Attorney Services Division is
responsible for reviewing Court records to deternline the status of Ohio attorneys. I
further certify that, having fulfilled all of the requirements for admission to the practice of
law in Ohio,


                               Stephan Jacob Schlegelmilch
                              Attorney Registration No. 0073088


was admitted to the practice of law in Ohio on November 20, ?000; has registered as an
active attorney pursuant to the Supreme Court Rules for the Govermnent of the Bar of
Ohio; is in good standing with the Supreme Court of Ohio; and is entitled to practice law
in this state.




                                              IN TESTIMONY WHEREOF,I have
                                              subscribed my name anct'aff~xed the seal of the
                                              Supreme Cofirt, this 13th day of ?vlay, ?019.




                                              GINA'WHITE PALMER
                                              Directo~~, attorney Sefl~ices Division

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                                              Acl~~ninistr•utive Assistczrat




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     Can behalf of~J~~LIO A. C:AS"1'ILLC~, Clerk of the District of Columbia Court of Appeals,
                       the District cif Columbia Bar does hereby certify that



                              ~~~~~!?i                       G~~~~~~~~7~~~~~G

 was duly qualified and admitted on October 6, 2008 as an attorney and counselor entitled
  to practice before this Court; and is, on the date indicated below, an Active member in
                                  good standing of this I3ar.




                                                                         In Testimony Whereof,
                                                                     I have hereunto subscribed my
                                                                     name and affixed the seal of this
                                                                     Court at the City of Washington,
                                                                          D.C., nn Mav 13, 2019.



                                                                                                  ~., '

                                                                            JULIO A. CASTILLO
                                                                              Clerk ofthe Court




                                                                     ],sued tiv:      ~~~~~~~       ~~~'~'~
                                                                                   llistriet of Columbia Bar ~Sembershi}~




for quesrions a~ concera~s, please contact tl~e I .C. far Membership Office at 202-626-3475 or ernaii
                                    memt~erse~vices a>dcbar.org.
